                                          Case:17-03283-LTS Doc#:2719-1 Filed:03/16/18 Entered:03/16/18 15:24:42                                                                                Desc:
                                                                     Exhibit 1 Page 1 of 4

Pension Trustee Advisors, Inc. Fees October 1, 2017‐October 31, 2017


Invoice No. Matter Name Date        Timekeeper Name           Position/Title   Hourly Rate Hours    Project Category             Fees         Task Description
   3/14/2018 Title III    10/2/2017 Fornia, William           President               $465     1.00 Employee Benefits/Pensions      $465.00   Response to Questions from Mediation and prepar
   3/14/2018 Title III    10/3/2017 Fornia, William           President               $465     1.50 Employee Benefits/Pensions      $697.50   Response to Questions from Mediation and prepar
   3/14/2018 Title III    10/6/2017 Fornia, William           President               $465     0.80 Employee Benefits/Pensions      $372.00   Review Outstanding Work
   3/14/2018 Title III   10/23/2017 Fornia, William           President               $465     1.20 Employee Benefits/Pensions      $558.00   Pension Bridge Calculations Development
   3/14/2018 Title III   10/24/2017 Fornia, William           President               $465     1.10 Employee Benefits/Pensions      $511.50   Pension Bridge Calculations Development
   3/14/2018 Title III   10/26/2017 Fornia, William           President               $465     1.90 Employee Benefits/Pensions      $883.50   Pension Bridge Calculations Development
   3/14/2018 Title III   10/27/2017 Fornia, William           President               $465     0.80 Employee Benefits/Pensions      $372.00   Pension Bridge Calculations Development
   3/14/2018 Title III   10/28/2017 Fornia, William           President               $465     1.00 Employee Benefits/Pensions      $465.00   Pension Calculations
                                                                                              9.30                                $4,324.50
                                   Case:17-03283-LTS Doc#:2719-1 Filed:03/16/18 Entered:03/16/18 15:24:42                                                              Desc:
                                                              Exhibit 1 Page 2 of 4

Pension Trustee Advisors, Inc. Fees November 1, 2017‐November 30, 2017

Invoice No.     Matter Name    Date           Timekeeper Name        Position/Title   Hourly Rate  Hours       Project Category             Fees          Task Description
    3/14/2018   Title III         11/2/2017   Fornia, William        President                $465        1.10 Employee Benefits/Pensions       $511.50   Pension Bridge Review as requested by Judge
    3/14/2018   Title III         11/3/2017   Fornia, William        President                $465        1.30 Employee Benefits/Pensions       $604.50   Pension Bridge Review as requested by Judge
    3/14/2018   Title III       11/10/2017    Fornia, William        President                $465        0.50 Employee Benefits/Pensions       $232.50   Pension Bridge Review as requested by Judge
    3/14/2018   Title III       11/16/2017    Fornia, William        President                $465        0.50 Employee Benefits/Pensions       $232.50   Pension Bridge Review as requested by Judge
    3/14/2018   Title III       11/20/2017    Fornia, William        President                $465        0.50 Employee Benefits/Pensions       $232.50   Pension Bridge Review as requested by Judge
    3/14/2018   Title III       11/21/2017    Fornia, William        President                $465        0.20 Employee Benefits/Pensions        $93.00   Pension Bridge Review as requested by Judge
    3/14/2018   Title III       11/22/2017    Fornia, William        President                $465        0.50 Employee Benefits/Pensions       $232.50   Pension Bridge Review as requested by Judge
    3/14/2018   Title III       11/27/2017    Fornia, William        President                $465        0.70 Employee Benefits/Pensions       $325.50   Pension Bridge Review as requested by Judge
    3/14/2018   Title III       11/30/2017    Fornia, William        President                $465        0.50 Employee Benefits/Pensions       $232.50   Discussion with Retirees Committee reps
                                                                                                         5.80                                 $2,697.00
                                   Case:17-03283-LTS Doc#:2719-1 Filed:03/16/18 Entered:03/16/18 15:24:42                                                                 Desc:
                                                              Exhibit 1 Page 3 of 4

Pension Trustee Advisors, Inc. Fees December 1, 2017‐December 31, 2017

Invoice No.     Matter Name     Date            Timekeeper Name          Position/Title   Hourly Rate  Hours       Project Category             Fees          Task Description
    3/14/2018   Title III           12/4/2017   Fornia, William          President                $465        0.20 Employee Benefits/Pensions        $93.00   Discussion with Retirees Committee reps
    3/14/2018   Title III           12/8/2017   Fornia, William          President                $465        0.50 Employee Benefits/Pensions       $232.50   Review Communications
    3/14/2018   Title III          12/11/2017   Fornia, William          President                $465        0.80 Employee Benefits/Pensions       $372.00   Review. Discuss AFSCME
    3/14/2018   Title III          12/14/2017   Fornia, William          President                $465        0.30 Employee Benefits/Pensions       $139.50   Prep for AFSCME call
    3/14/2018   Title III          12/15/2017   Fornia, William          President                $465        2.30 Employee Benefits/Pensions     $1,069.50   AFSCME call
    3/14/2018   Title III          12/18/2017   Fornia, William          President                $465        1.40 Employee Benefits/Pensions       $651.00   AFSCME call
    3/14/2018   Title III          12/19/2017   Fornia, William          President                $465        0.30 Employee Benefits/Pensions       $139.50   AFSCME request
    3/14/2018   Title III          12/21/2017   Fornia, William          President                $465        0.30 Employee Benefits/Pensions       $139.50   Review Calculations
    3/14/2018   Title III          12/28/2017   Fornia, William          President                $465        0.20 Employee Benefits/Pensions        $93.00   Review Calculations
                                                                                                             6.30                                 $2,929.50
                                    Case:17-03283-LTS Doc#:2719-1 Filed:03/16/18 Entered:03/16/18 15:24:42                                                                Desc:
                                                               Exhibit 1 Page 4 of 4

Pension Trustee Advisors, Inc. Fees January 1, 2018‐January 31, 2018

Invoice No.     Matter Name      Date           Timekeeper Name        Position/Title   Hourly Rate  Hours       Project Category             Fees          Task Description
    3/14/2018   Title III          12/4/2017    Fornia, William        President                $465        0.30 Employee Benefits/Pensions       $139.50   Review Communications
    3/14/2018   Title III          12/8/2017    Fornia, William        President                $465        1.40 Employee Benefits/Pensions       $651.00   Review & update calculations
    3/14/2018   Title III        12/11/2017     Fornia, William        President                $465        0.30 Employee Benefits/Pensions       $139.50   Review dataroom
    3/14/2018   Title III        12/14/2017     Fornia, William        President                $465        0.30 Employee Benefits/Pensions       $139.50   Review correspondence
                                                                                                           2.30                                 $1,069.50
